Case 1:02-cV-01281-.]DB-tmp Document 26 Filed 04/22/05 Page 1 of 4 Page|D 42

UNITED sTATEs DISTRICT coURT “J` M

wEsTERN DlsTRICT oF TENNESSEE m flag sp m l t 9,

EASTERN DIvIsIoN “ ‘5 ‘~ ‘ " "" ~ *'-‘

DONALI) GEOGHAN, ) `L§lr`;ai<.` i.i.“`s.'““ez§i.“ii§i;"

) WD. OF T`N, MEMPHI;¢:
Plaincirr )
)

v. ) No. 1:02-01281 - Bre-P

)
CoRREcTIoNs CORPORATIoN )
oF AMERICA, et al., )
)
Defendants )

 

ORDER

 

Before the Court is a Joint Motion to Extend Motion to Compel Deadline. The parties
are in agreement that due to the scheduled Mediation in this matter, additional time would be
useful to attempt to resolve certain issues that have arisen as to Defendants’ written discovery,
and, therefore, the Court finds that the Motion is well taken. Therefore, it is ORDERED that the

deadline to tile a Motion to Compel is extended up to and including June 10, 2005.

easde

JUDGE

DATED: ’~//"{. l °J'_`

IT IS SO ORDERED.

 

NOS`)!OVF"Nl 30 `GM
19 1810 `S`(_l 30 §HEHO
This documan GHOH‘ l{] H iH:EOH

r.rgamcpo,, £}"\":'£L$ was us szsavso
GH/\EHOIH

Q(@

Case 1:02-cV-Ol281-.]DB-tmp Document 26 Filed 04/22/05 Page 2 of 4 Page|D 43

APPROVED FOR ENTRY:

JAMES I. PENTECOST

BRANDON O. GIBSON

PENTECOST, GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson, Tennessee 38305

ROBERT J. WALKER

w%YNE A. RITC%%E, 11 l §§

ROBERT W. RITCHIE
RITCHIE, FELS & DILLARD
P.O. Box 1126

Knoxville, Tennessee 37901-1126

W. GASTON FAIREY

MARK TIPPS W. GASTON FAIREY, LLC
JOSEPH WELBORN 1722 Main Street, Suite 300
WALKER, BRYANT, TIPPS & MALONE Columbia, South Carolina 29201
2300 One Nashville Place
150 Fourth Avenue North COUNSEL FOR PLAINTIFF
Nashville, TN 37219-2424
COUNSEL FOR DEFENDANTS

CERTIFICATE OF SERVICE

 

l certify that a copy of the foregoing has been served by U.S. mail upon Wayne A.
Ritchie, II and Robert W. Ritchie, Ritchie Fels & Dillard, P.C., P.O. Box 1126, Knoxville, TN
37901-1126 and W. Gaston Fairey, LLC, 1722 Main Street, Suite 300, Colurnbia, SC 29201 on

April 14, 2005.

PENTECOST, GLENN & RUDD, PLLC

By: Q)Mdow@d;:

'James 1. Pemeé`ésr (#611640)
Brandon O. Gibson (#21485)
Attorneys for Defendants

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
case 1:02-CV-01281 was distributed by faX, mail, or direct printing on
April 27, 2005 to the parties listed.

 

W. Gaston Fairey

FAIREY PARISE & l\/l[LLS, P.A.
P.O. Box 8443

Columbia, SC 29202

Terry Williams

LAW OFFICES OF TERRY WILLIAMS
206 S. Third

Delavan, Wl 531 15

Wayne A. Ritchie

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

KnoX\/ille7 TN 37901--112

Robert J. Walker

WALKER BRYANT TIPPS & MALONE
150 Fourth Ave.7 N.

Ste. 2300

Nashville, TN 37219

J ames I. Pentecost

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jacl<son7 TN 38305

Robert W. Ritchie

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

KnoX\/ille7 TN 37901

Brandon O. Gibson

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jacl<son7 TN 38305

Case 1:02-cV-Ol281-.]DB-tmp Document 26 Filed 04/22/05 Page 4 of 4 Page|D 45

Honorable J. Breen
US DISTRICT COURT

